 Case 2:15-cv-03242-EEF-DEK Document 18-1 Filed 11/05/15 Page 1 of 1



                   CONSENT TO JOIN COLLECTIVE ACTION
               (FAIR LABOR STANDARDS ACT, 29 U.S.C. § 216 (b))

       Pursuant to Section 16(b) of the Fair Labor Standards Act, I hereby consent to opt

in and become a party in a collective action entitled Sturm v. 240 Decatur, L.L.C. in the

Eastern District of Louisiana to recover unpaid wages, overtime wages, and other sums

owing to me and to other similarly situated employees. I agree to be bound by any

judgment of the Court or any settlement of this action.




                                                           ________________________
                                                                    Carl Sturm
